      Case 1:21-cr-00073-BAH Document 73 Filed 09/01/22 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :       Case No. 21-cr-73-BAH
                                             :
NICHOLAS DECARLO and                         :
NICHOLAS OCHS,                               :
                                             :
                      Defendants.            :

              JOINT SUBMISSION IN SUPPORT OF GUILTY PLEA

       As required by paragraph 8 of the Court’s standing order (ECF Nos. 19, 20), the

parties provide the following information in connection with change of plea hearing

scheduled for both defendants on September 9, 2022. 1

Standing Order ¶ 8(a): information regarding the plea agreement

       Each defendant has entered into a written plea agreement with the government, and

the government provided both plea agreements to chambers by e-mail on August 24, 2022.

The plea agreements were entered into pursuant to Rule 11(c)(1)(A), as the defendants

intend to plead guilty to Count Two of the superseding indictment (ECF No. 68) and, in

consideration of such guilty pleas, the government will move to dismiss the remaining

counts of the superseding indictment and will not further prosecute the conduct set forth in

each defendant’s Statement of Offense.

Standing Order ¶ 8(b): superseding indictment or new information

       No new information has been filed and no further superseding indictment has been

returned in connection with the plea agreement.



       1
         The government is aware of the Court’s August 29 Minute Order regarding
video evidence and will submit material in compliance with that order by the deadline
tomorrow.
                                             1
        Case 1:21-cr-00073-BAH Document 73 Filed 09/01/22 Page 2 of 4




Standing Order ¶ 8(c): elements, factual proffer, statutory penalties, Guidelines range

         The defendants have agreed to plead guilty to Count Two, charging them with

obstructing an official proceeding, in violation of 18 U.S.C. § 1512(c)(2). To prove that a

defendant is guilty of this offense, the government must prove each of the following

elements beyond a reasonable doubt:

         1. The defendant attempted to or did obstruct or impede an official proceeding;
         2. The defendant intended to obstruct or impede the official proceeding;
         3. The defendant acted knowingly, with awareness that the natural and probable
            effect of his conduct would be to obstruct or impede the official proceeding;
            and
         4. The defendant acted corruptly.

Title 18, United States Code, Section 1515(a)(1)(B) defines “official proceeding” as “a

proceeding before the Congress.”

         Each defendant has signed a Statement of Offense, which is the factual proffer that

each defendant is prepared to acknowledge.         The government submitted the signed

Statements of Offense to the Court by e-mail on August 24, 2022.

         As described in each defendant’s plea agreement (¶ 1), the maximum penalties for

Obstruction of an Official Proceeding are:

   1.    A term of imprisonment of not more than 20 years;
   2.    A term of probation of supervised release of not more than 3 years;
   3.    A fine not to exceed $250,000; and
   4.    A special assessment of $100.

         As also described in the plea agreement (¶ 5), the estimated applicable Total

Offense Level is 22, calculated as follows:




                                              2
      Case 1:21-cr-00073-BAH Document 73 Filed 09/01/22 Page 3 of 4




U.S.S.G. § 2J1.2(a)          Base Offense Level                                     14
U.S.S.G. § 2J1.2(b)(1)(B)    Threatening or causing injury or property damage to
                             obstruct the administration of justice                +8
U.S.S.G. § 2J1.2(b)(2)       Substantial interference with the administration of justice
                                                                                   +3
                                                          2
U.S.S.G. § 3E1.1             Acceptance of responsibility                          -3

                                                                    Total          22

       The government estimates that Nicholas DeCarlo has one criminal history point

under U.S.S.G. § 4A1.1, resulting from a 2019 conviction for possession of marijuana, for

which he was sentenced to two days’ jail. The government estimates that Nicholas Ochs

has zero criminal history points. Therefore, the government estimates that each defendant

is in Criminal History Category I.

       Accordingly, for each defendant, the estimated Guidelines range (corresponding

to Total Offense Level 22 and Criminal History Category I) is 41 to 51 months’

imprisonment. In addition, pursuant to U.S.S.G. § 5E1.2, should the Court impose a fine,

at Total Offense Level 22, the estimated applicable fine range is $15,000 to $150,000.

Standing Order ¶ 8(d): whether defendant is a non-citizen pleading to an “aggravated
felony”

       The defendants are U.S. citizens.




       2
         This calculation assumes that the defendants will continue to demonstrate
acceptance of responsibility, as described in paragraph 5 of the plea agreement, and will
therefore qualify for a three-point reduction.
                                            3
Case 1:21-cr-00073-BAH Document 73 Filed 09/01/22 Page 4 of 4




                              Respectfully submitted,

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                              4
